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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 CLOVER COFFIE, et al.                                     CASE NO.: 19-CV-80730-RS

        Plaintiffs,                                        CLASS ACTION
 vs.
                                                           Hon. Rodney Smith
 FLORIDA CRYSTALS CORPORATION,
 a Delaware corporation;
 SUGAR CANE GROWERS COOPERATIVE OF FLORIDA,
 a Florida not for profit corporation;
 UNITED STATES SUGAR CORPORATION,
 a Delaware corporation;
 FLO-SUN INCORPORATED, a Florida corporation;
 AMERICAN SUGAR REFINING, INC.,
 a Delaware corporation;
 OKEELANTA CORPORATION, a Delaware corporation;
 OSCEOLA FARMS CO., a Florida corporation;
 SUGARLAND HARVESTING CO.,
 a Florida not for profit corporation;
 TRUCANE SUGAR CORPORATION,
 a Florida corporation;
 INDEPENDENT HARVESTING, INC., a Florida corporation;
 KING RANCH, INC., a Delaware corporation;
 J & J AG PRODUCTS, INC., a Florida corporation; and
 Does 1-50;

       Defendants.
 __________________________________________________/

                    DEFENDANT KING RANCH INC.’S MOTION TO
                  DISMISS IMPROPER PARTY PURSUANT TO RULE 21

        Defendant, KING RANCH, INC., a Delaware corporation, by and through undersigned

 counsel, and pursuant to Fed. R. Civ. P. 20 and 21, hereby moves this Court to dismiss or sever

 King Ranch from the above-captioned action for misjoinder, and in support thereof states as

 follows:




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         I.       Introduction

         King Ranch should be dismissed from the First Amended Class Action Complaint filed by

 Plaintiffs because King Ranch is not a proper party. King Ranch is a landowner and lessor of

 property within the Affected Area 1, King Ranch is not engaged in the cultivation of sugarcane.

 King Ranch should be dropped from the instant action, or the claims against it should be severed,

 because there is no allegation of, or any factual basis for alleging, a connection between King

 Ranch and the other defendants with respect to the Plaintiffs’ claims.

         II.      Factual Background

         On August 28, 2019, Plaintiffs, CLOVER COFFIE, ELIJAH SMITH, and SHANTE

 LEGRAND (collectively hereinafter “Plaintiffs”), filed their Fist Amended Class Action

 Complaint (the “Complaint”) challenging the pre-harvest burning of sugarcane in and around the

 towns of Belle Glade, South Bay, Pahokee, Clewiston and Moore Haven, in the area south and

 east of Lake Okeechobee. All of the allegations in the Complaint contend that all of the defendants

 engage in the cultivation of sugarcane, including the burning and harvesting of sugarcane. King

 Ranch is only an owner of land located in the Affected Area and not engaged in any of the acts

 that caused the alleged damage to Plaintiffs. As such, Plaintiffs cannot allege that Plaintiffs are

 damaged by any activity of King Ranch, or that any actions by King Ranch arise out of the same

 transaction, occurrence, or series of transactions or occurrences as those of the other Defendants. 2




 1
   All capitalized terms not defined herein will have the same meaning as in the First Amended Class Action
 Complaint, except King Ranch. King Ranch does not accept the Plaintiffs’ definition of King Ranch as set forth in
 its First Amended Class Action Complaint.
 2
   Concurrent with this motion, King Ranch has filed a Motion to Dismiss based in part on the failure of the
 Complaint to identify with any particularity what actions by King Ranch caused damaged to Plaintiffs. There is no
 basis to assume any relation or common transaction or occurrence between any actions by King Ranch and any of
 the actions by any other defendants.

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          III.   Legal Standard

          District courts enjoy broad discretion to sever or drop parties based on misjoinder. See

 Barber v. America’s Wholesale Lender, 289 F.R.D. 364 (M.D. Fla. 2013). Rule 21 of the Federal

 Rules of Civil Procedure allows the Court, on its own initiative or by motion, to dismiss parties to

 a case. The rule specifically provides that “on motion or on its own, the court may at any time, on

 just terms, add or drop a party.” Fed. R. Civ. P. 21. Notably, Rule 21 does not provide any standards

 by which district courts can determine if parties are misjoined, and courts therefore must look to

 Rule 20 for guidance. Acevedo v. Alsup’s Convenience Stores, Inc., 600 F.2d 516, 521 (5th Cir.

 2010).

          Rule 20 of the Federal Rules of Civil Procedure defines who may be permissively joined

 as defendants. Joinder is appropriate only if:

          (A)    any right to relief is asserted against them jointly, severally, or in the alternative

                 with respect to or arising out of the same transaction, occurrence, or series of

                 transactions or occurrences; and

          (B)    any question of law or fact to all defendants will arise in the action.

 Fed. R. Civ. P. 20(a)(2) (emphasis added). Thus, Rule 20 permits joinder of multiple defendants

 only if two requirements are satisfied: transactional relatedness and commonality. See Alexander

 v. Fulton Cty., Ga., 207 F.3d 1303, 1323 (11th Cir. 2000). Further, courts have such broad

 discretion that even when the technical requirements of Rule 20 are met the court may sever claims

 and drop parties when the interests of judicial economy so require. See Lasseter v. Restaurant

 Developers, LLC, 2018 WL 4091987 (M.D. Fla. 2018); see also Barber v. America’s Wholesale

 Lender, 289 F.R.D. 364, 368 (M.D. Fla. 2013).




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        IV.     Argument: King Ranch is Not a Proper Party and Should be Dismissed

        King Ranch should be dismissed because King Ranch is not a proper party to this litigation.

 King Ranch is solely an owner of land located in the Affected Area and not engaged in the

 cultivation of sugarcane. Although King Ranch owns various parcels of land located within the

 Affected Area, King Ranch does not engage in any activities related to the cultivation of sugarcane.

 Plaintiffs improperly join King Ranch in this action without alleging any right to relief against

 King Ranch that arises out of “the same transaction, occurrence, or series of transactions or

 occurrences” as the other defendants. Fed. R. Civ. P. 20(a)(2)(A). Further, there is no common

 question of law or fact because King Ranch does not engage in any activity similar to that of the

 other Defendants. Permissive joinder of King Ranch is not appropriate, and King Ranch is not a

 proper party to this action.

 King Ranch is Not Engaged in the Cultivation of Sugarcane

        Every single allegation in Plaintiffs’ Complaint stems from activities associated with the

 cultivation of sugarcane, including the burning and harvesting of the crop. Each cause of action

 alleged in Plaintiffs’ Complaint against King Ranch relies on the assumption that King Ranch

 “conducted sugarcane cultivation activities.” Compl. ¶ 20. This is simply not accurate. King Ranch

 is a landowner and does not engage in any activities related to the growing or harvesting of

 sugarcane.

        King Ranch leases parcels of land in the Affected Area to Big B Sugar Corporation, a

 Florida corporation (“Big B Sugar”). Big B Sugar is engaged in the cultivation of sugarcane on

 the land that it leases from King Ranch that is located in the Affected Area. King Ranch and Big

 B Sugar are two legally distinct entities, organized under the laws of two different states. King

 Ranch is a Delaware corporation organized under the laws of the state of Delaware on March 24,



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 2011. See Entity Details, State of Delaware, Department of State: Division of Corporations,

 https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx (last visited Oct. 17, 2019).

 Big B Sugar is a Florida corporation organized under the laws of the state of Florida on October

 7, 1963. See Detail by Entity Name, Division of Corporations an official State of Florida website,

 http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName

 &directionType=Initial&searchNameOrder=BIGBSUGAR%202744170&aggregateId=domp-

 274417-c8d9a3a3-81f1-4654-9d54-b5f2b919c3f6&searchTerm=big%20b%20sugar&listName

 Order=BIGBSUGAR%202744170 (last visited on Oct. 17, 2019). It is well settled that one

 corporation will not be liable for the activities of a separate and distinct legal entity. See U.S. v.

 Bestfoods et al., 524 U.S. 51 (1988); see also Mendez v. JFK Medical Center Limited Partnership,

 2018 WL 5045210, at *3 (S.D.Fla. Sept. 4, 2018); Reynolds Am., Inc. v. Gero, 56 So. 3d 117, 120

 (Fla. 3d DCA 2011); Sun Trust Bank v. Sun Int’l Hotels, Ltd., 184 F. Supp. 2d 1246, 1268-69 (S.D.

 Fla. 2011). King Ranch is clearly not a proper party because it is not engaged in any of the actions

 about which Plaintiffs complain.

        Plaintiffs also incorrectly allege that King Ranch is “the largest member of Defendant [the

 Sugar Cane Growers Cooperative of Florida] SCGC.” Compl. ¶ 20. King Ranch is not a member

 of SCGC, and also cannot be a member of SCGC because King Ranch is not engaged in the

 cultivation of sugarcane. King Ranch is not a proper party to Plaintiffs’ Complaint and King Ranch

 should be dropped as a party.

 As an Owner and Lessor of Land King Ranch is Improperly Joined

        In addition to King Ranch being a separate and distinct entity and not engaged in any of

 the actions alleged by Plaintiffs in the Complaint, Plaintiffs should not join King Ranch in this

 litigation simply because King Ranch is a lessor. King Ranch leases land located in the Affected



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 Area to Big B Sugar. A lessor is not liable for the acts of the lessee. See Bovis v. 7-Eleven, Inc.,

 505 So.2d 661, 664 (Fla. 5th DCA 1987) (stating that a lessor is not liable for injuries caused solely

 by lessee’s operations and activities on the leased premises). Accordingly, Plaintiffs are not

 entitled to permissively join King Ranch because Plaintiffs are not entitled to any relief against

 King Ranch. Any alleged liability of King Ranch arising out of the cultivation of sugarcane is

 misplaced. King Ranch is not a proper party to this suit, and Plaintiffs fail to state a single cause

 of action against King Ranch. King Ranch is not engaged in any alleged transaction or occurrence

 that is the same as the other defendants, and therefore, permissive joinder is not appropriate. This

 Court should dismiss King Ranch from the above-styled cause of action.

        V.      Conclusion

        For all of the reasons set forth above, King Ranch is misjoined in this action. Plaintiffs do

 not assert a single cause of action against King Ranch as a lessor of parcels located within the

 Affected Area. King Ranch cannot be joined in this action. King Ranch is not a proper party to

 this lawsuit and should be dismissed entirely.

        WHEREFORE, Defendant, KING RANCH, INC., respectfully requests that this Court

 enter an order dismissing all claims by the Plaintiffs in the First Amended Class Action Complaint

 against King Ranch, that King Ranch no longer be a party to this lawsuit, along with any further

 relief that the Court deems just and appropriate under the circumstances.

        Date: October 18, 2019.

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing has been sent this 18th day of
 October, 2019 to all those listed on the attached Service List via the Court’s CM/ECF service.


                                                   /s/ Heidi M. Mitchell
                                                   Heidi M. Mitchell, Esq.
                                                   Florida Bar No.: 0121988




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                                          SERVICE LIST
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